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VIA E-MAIL

 

October 3, 2019

Nicolas A. Mitchell

Investigation Counsel

House Permanent Select Committee on Intelligence
Democratic Congress of the United States

Washington, D.C. 20515

Subject: Your letters of September 30, 2019, to Lev Parnas and Igor
Fruman

Dear Mr. Mitchell:

This letter will confirm our recent telephone conversation of October
1, 2019, in response to the Committees’ extensive and detailed letters
which the Committees unfortunately caused to be published on the
internet in violation of all norms of fairness and decency.

In that call, I advised you of my anticipated retainer by Lev Parnas and
Igor Frumas. I now represent Lev Parnas and Igor Fruman with respect
to the alleged impeachment investigation referenced in your letters of

September 30, 2019.
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I will meet with Mr. Parnas and Mr. Fruman beginning this weekend to
get acquainted with them, the facts and documents requested in your
detailed letter in order to prepare a response to the Committees’
requests. This effort will take some time.

Be advised that Messrs. Parnas and Fruman assisted Mr. Giuliani in
connection with his representation of President Trump. Mr. Parnas and
Mr. Furman have also been represented by Mr. Giuliani in connection
with their personal and business affairs. They also assisted Joseph
DiGenova and Victoria Toensing in their law practice. Thus, certain
information you seek in your September 30, 2019, letter is protected
by the attorney-client, attorney work product and other privileges.
Given the breadth and detail of your request for information, an
appropriate privilege review cannot reasonably be conducted by
October 7, 2019, the date you have set to produce documents and
communications. The amount of time required is difficult to determine.
but we are happy to keep you advised of our progress and engage ina
rolling production of non-privileged documents.

Your request for documents and communications is overly broad and
unduly burdensome. The subject matter of your requests is well
beyond the scope of your inquiry. This, in combination with requiring
immediate responses, leads me to the inescapable conclusion that the
Democratic Committee members intent is to harass, intimidate and

embarrass my clients.

The "Committees" and its Democratic members are well aware that my
clients are entitled to retain counsel and counsel is entitled to an
adequate period of time to get acquainted with the clients, review
documents, consult with the clients and prepare the clients for any
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potential testimony and document production. Requesting production of
documents within seven days and requiring testimony within fifteen
days is unreasonable and not in keeping with your Committees’ standard

procedures.

Considering the important factual questions and legal issues attendant
to the alleged whistleblower, your investigation, your authority and
requests for information, your charter should be amended to exhibit
some semblance of due process, fairness, justice and common decency.

  
  

Sspegtfully subrmtted,

ohn M. Do
Counsel to Messrs. Parnas and Fruman
